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                       UNITED STATES DISTRICT COURT
 8                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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10
      UNITED STATES OF AMERICA,                   )   CASE NO. 22CR0981-JLS
11                                                )
                                                  )   ORDER GRANTING THE
                  Plaintiff,                      )
12                                                    JOINT MOTION TO
                                                  )   CONTINUE THE MOTION
13    v.                                          )
                                                  )   HEARING AND TRIAL
      ANDREW GERONIMO SANCHEZ,                    )   SETTING
14
                                                  )
15                Defendant.                      )
                                                  )
16
17         IT IS HEREBY ORDERED that the joint motion to continue the motion

18 hearing and trial setting from June 3, 2022 to July 29, 2022 at 1:30 p.m. is granted.
19
     Time is excluded pursuant to 18 U.S.C. § 3161(h)(1)(D) and (h)(7).
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21         IT IS SO ORDERED.

22 Dated: May 31, 2022
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